uNrrED STATES DISTRICT CoURT n j
FoR THE WESTERN DiSTRICT oF NoRTH CAROLiNA 4
CHARLOTTE Dl\/lSloN 03 377 '3
Civil Action No. 3101CV426-l\/[U

 

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CARLA W. KEZIAH, ) ""
)
Plaintiff, )
)
v. ) STIPULATION oF voLuNTARY
) nllesSAL wITH PREJUI)ICE
DUKE ENERGY CORP., f/k/a DUKE )
PoWER Co., ana DUKE ENGiNEERING )
SERVICES, 1NC., )
)
Defendant. )
)

 

Pursuant to Rule 4l(a) of the F ederal Rules of Civil Procedure, Plaintiff Carla W. Keziah,
by and through her undersigned counsel, and Defendants Duke Energy Corporation and Duke
Engineering & Services, by and through their undersigned counsel, stipulate that this action shall be
and hereby is DlSl\/[ISSED W`ITH PREJ UDICE_, each party to bear their own costs and fees.

lt is So Stipulated.

Tod W. Cline l §ij J. Doyle, Jr.O
. State Bar No. 19672 `“‘- .C. State Bar No.1235

Janet Ward Black
N.C. Statc Bar No. 12369
Donaldson & Blaek, P.A.

208 West Wendover Avenue

 

 

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Greensboro, NC 27401 N C. State Bar No. 20145

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Counsel for Plaintiff Winston-Salem, NC 27101

Dare: 3-23_»©1 reiephen@; (336) 721-1001

Counsel for Defendants

Date: 5-\§»0§
<//I{W\" §§ 3 "873

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